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                                                                                             CLERK OF STATE COURT
                                                                                           LIBERTY COUNTY, GEORGIA
                                                                                       STSV2022000130
                         IN THE STATE COURT OF LIBERTY COUNTY                                       JO
                                   STATE OF GEORGIA                                        MAY 26, 2022 03:36 PM


 CATHERINE MOORE, as legal guardian and next
 friend of JONATHAN MOORE,
                                                           Civil Action File No.
           Plaintiff,
                                                           JURY TRIAL DEMANDED
 v.

 HISCOX, INC., HISCOX INSURANCE
 COMPANY INC., LLOYD’S AMERICA, INC.,
 d/b/a Certain Underwriters at Lloyd’s, London, and
 CERTAIN UNDERWRITERS AT LLOYD’S,
 LONDON,

           Defendants.

                                            COMPLAINT

         Plaintiff Catherine Moore, as legal guardian and next friend of Jonathan Moore, brings

this complaint against Hiscox, Inc., Hiscox Insurance Company Inc., Lloyd’s America, Inc.,

d/b/a Certain Underwriters at Lloyd’s, London, and Certain Underwriters at Lloyd’s, London,

showing as follows.

                                          INTRODUCTION

1. HealthCare Staffing, Inc. (“HCS”) was insured under a Hiscox/Lloyd’s liability policy when

      HCS’s employee injured Plaintiff’s grandson, Jonathan Moore. Plaintiff gave HCS, Hiscox,

      and Lloyd’s the opportunity to settle Jonathan’s tort claims against HCS, but Hiscox and

      Lloyd’s refused to settle and denied coverage. Hiscox and Lloyd’s further refused to provide

      a defense to HCS in Plaintiff’s lawsuit against HCS. Hiscox’s and Lloyd’s negligent and

      bad-faith failure to settle and breach of the duty to defend resulted in a judgment of

      $1,000,000.00, plus liability for attorney fees and litigation costs, against HCS.

                            PARTIES, JURISDICTION AND VENUE
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2. The foregoing paragraphs are hereby incorporated by reference as if fully realleged herein.

3. Plaintiff Catherine Moore is a resident of Georgia. Plaintiff submits to jurisdiction and venue

   in this Court.

4. Jonathan Moore is Plaintiff’s adult grandson. Jonathan has severe autistic disorder and other

   intellectual disabilities. Plaintiff has been appointed legal guardian of Jonathan by the

   Probate Court of Liberty County. Plaintiff brings this action as Jonathan’s legal guardian and

   next friend.

5. Defendant Hiscox, Inc. is a corporation organized and existing under the laws of Delaware

   and with its corporate headquarters in Atlanta, Georgia. Hiscox, Inc. is authorized to transact

   business in Georgia and is engaged in business as an insurance company in Georgia. Hiscox,

   Inc. may be served with process by delivering a summons and copy of this Complaint to its

   registered agent for service of process, Corporation Service Company, 2 Sun Court, Suite

   400, Peachtree Corners, Gwinnett County, Georgia 30092. Hiscox, Inc. is subject to

   jurisdiction in this Court.

6. Defendant Hiscox Insurance Company Inc. is a corporation organized and existing under the

   laws of Illinois and with its corporate headquarters in Atlanta, Georgia. Hiscox Insurance

   Company Inc. is authorized to transact business in Georgia and is engaged in business as an

   insurance company in Georgia. Hiscox Insurance Company Inc. may be served with process

   by delivering a summons and copy of this Complaint to its registered agent for service of

   process, Corporation Service Company, 2 Sun Court, Suite 400, Peachtree Corners, Gwinnett

   County, Georgia 30092. Hiscox Insurance Company Inc. is subject to jurisdiction in this

   Court.




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7. Defendants Hiscox, Inc. and Hiscox Insurance Company Inc. are referred to collectively

   herein as “Hiscox.”

8. Defendant Lloyd’s America, Inc., d/b/a Certain Underwriters at Lloyd’s, London, is a

   corporation organized and existing under the laws of New York and with its southeast

   regional headquarters in Atlanta, Georgia. Lloyd’s America, Inc., is authorized to transact

   business in Georgia and is engaged in the insurance business in Georgia. Lloyd’s America,

   Inc., may be served with process by delivering a summons and copy of this Complaint to its

   registered agent for service of process, CT Corporation System, 289 S. Culver St.,

   Lawrenceville, Gwinnett County, Georgia 30046.

9. Lloyd’s America, Inc., is subject to personal jurisdiction in Georgia because it is and was at

   all relevant times authorized by the Secretary of State of Georgia to do or transact business in

   this State, and therefore is a resident of this State. In the alternative, Lloyd’s America, Inc.,

   is subject to personal jurisdiction in Georgia pursuant to O.C.G.A. § 9-10-91 because it

   transacts business in this state, it committed a tortious act or omission within this state,

   and/or it committed a tortious injury in this state caused by an act or omission outside this

   state. Lloyd’s America, Inc., regularly does or solicits business, or engages in another

   persistent course of conduct, or derives substantial revenue from goods used or consumed or

   services rendered in Georgia.

10. Certain Underwriters at Lloyd’s, London (“Underwriters”) is, upon information and belief, a

   wholly owned subsidiary of Hiscox Dedicated Corporate Member Limited of the United

   Kingdom. Underwriters is engaged in the insurance business in Georgia and has availed

   itself of the courts in Georgia, including by filing motions for relief in three underlying




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    related actions in this Court1 and by filing an action against Plaintiff and others in federal

    court.2 Underwriters may be served with process by delivering a summons and copy of this

    Complaint to Lloyd’s America, Inc., 280 Park Avenue, East Tower, 25th Floor, New York,

    New York 10017.

11. Underwriters is subject to personal jurisdiction in Georgia pursuant to O.C.G.A. § 9-10-91

    because it transacts business in this state, it committed a tortious act or omission within this

    state, and/or it committed a tortious injury in this state caused by an act or omission outside

    this state. Underwriters regularly does or solicits business, or engages in another persistent

    course of conduct, or derives substantial revenue from goods used or consumed or services

    rendered in Georgia.

12. Defendants Lloyd’s America, Inc., and Underwriters are referred to collectively herein as

    “Lloyd’s.”

13. Venue is proper in this Court pursuant to O.C.G.A. § 14-2-510(b) and O.C.G.A. § 9-10-93

    because Plaintiff asserts a cause of action in tort that originated in Liberty County.

                                   FACTUAL ALLEGATIONS

14. The foregoing paragraphs are hereby incorporated by reference as if fully realleged herein.

15. At all times relevant to this Complaint, Jonathan was a patient of Gateway Behavioral Health

    Services, also known as the Gateway Community Service Board (“Gateway”), a legislatively

    created entity in coastal Georgia that serves individuals with developmental disabilities and

    other conditions.



1 Edenfield v. Healthcare Staffing, Inc., No. STSV2017000102 (motion filed Feb. 9, 2022); Edwards v.
Healthcare Staffing, Inc., No. STSV2018000028 (motion filed Feb. 9, 2022); Moore v. Healthcare
Staffing, Inc., No. STSV2018000030 (motion filed Feb. 9, 2022).
2 Certain Underwriters at Lloyd’s, London Subscribing to Policy No. AH00000154-01 v. Edenfield, et al.,

No. CV422-035 (S.D. Ga. filed Feb. 4, 2022).

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16. HCS is a Georgia staffing agency that supplies individuals to serve on the staffs of hospitals,

   nursing homes, long-term care facilities, and Community Service Boards in Georgia.

17. At all times relevant to this Complaint, HCS held a contract to supply staff members to

   Gateway.

18. At all times relevant to this Complaint, Errol Wilkins was an employee of HCS whom HCS

   had placed in an instructor/social aide position at Gateway.

19. At all times relevant to this Complaint, Jonathan was in the care, custody, and control of

   Gateway.

20. At no time did HCS or its employees have care, custody, or control of Jonathan.

21. On multiple occasions during the year 2015, through approximately August 5, 2015, Mr.

   Wilkins hit Jonathan with his fists, hands, and a wooden arm from a rocking chair.

22. On multiple occasions during the year 2015, through approximately August 5, 2015, Mr.

   Wilkins threatened, intimidated, and humiliated Jonathan.

23. No HCS employees reported Mr. Wilkins’s conduct toward Jonathan to Adult Protective

   Services, the local police department, or any other governmental or law-enforcement agency.

24. On or about August 5, 2015, Plaintiff noticed large bruises on Jonathan’s body.

25. Plaintiff reported the bruises to HCS employees on or about August 6, 2015, and told them

   that, due to distinctive jewelry marks in the bruises, she believed Mr. Wilkins had caused

   them. However, the staff members denied her suspicions.

26. Gateway opened an internal investigation into Plaintiff’s suspicions on or about August 6,

   2015, but HCS’s employees denied any knowledge of how the bruises had occurred.




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27. The Hinesville Police Department opened an investigation on or about August 5, 2015, at

   Plaintiff’s request, but no HCS staff members told the police that Mr. Wilkins had been

   striking Jonathan and other Gateway patients.

28. When Gateway received a report on or about February 27, 2016, that another patient had

   been abused and it investigated those allegations, multiple HCS employees on staff at

   Gateway finally admitted that they had observed Mr. Wilkins’s wrongful conduct toward

   Jonathan and other patients.

29. Mr. Wilkins had a criminal history that included, at minimum, a conviction for robbery and

   charges for battery and armed robbery.

30. Mr. Wilkins’s prior robbery conviction disqualified him from being on staff at Gateway due

   to regulations issued by the Georgia Department of Behavioral Health and Developmental

   Disabilities.

31. Jonathan suffered severe physical and mental injuries as a direct and proximate result of

   HCS’s negligent failure to train Mr. Wilkins, negligent failure to train its other employees,

   negligent hiring of Mr. Wilkins, negligent hiring of its other employees, negligent retention

   of Mr. Wilkins, negligent retention of its other employees, negligent placement of Mr.

   Wilkins at Gateway, negligent placement of other employees at Gateway, negligent

   supervision of Mr. Wilkins, and/or negligent supervision of its other employees.

32. Jonathan was harmed not only by the negligent acts and omissions of Mr. Wilkins, but by the

   negligent acts and omissions of other HCS employees.

33. During at least the period from July 24, 2015, through July 24, 2016 (the “Coverage

   Period”), HCS was a named insured policyholder on a policy issued by Hiscox, policy




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   number AH00000154-01 (“the Policy”), which included both commercial general liability

   (“CGL”) coverage and professional liability coverage.

34. On information and belief, Hiscox wrote and issued the Policy and formed the contractual

   relationship with HCS.

35. On information and belief, Hiscox and a syndicate of Lloyd’s entered into a contract by

   which Hiscox would solicit business from potential insureds, write insurance policies, issue

   insurance policies, receive notices of claims from insureds and/or claimants, make coverage

   determinations, and otherwise act as the insureds’ insurance company, while members of the

   Lloyd’s syndicate would pay claims and/or defense costs for which Hiscox determined

   coverage existed under the policies written and issued by Hiscox.

36. Upon information and belief, all premiums paid by HCS with respect to the Policy were paid

   to Hiscox and Hiscox accepted the premiums from HCS for the Policy.

37. On information and belief, the contract between Hiscox and the Lloyd’s syndicate embraced

   the Policy and the business/contractual relationship with HCS.

38. At all times material to the events described in this Complaint, Hiscox had a right to control

   Lloyd’s activities with respect to defending and indemnifying its insureds.

39. Gateway was not an insured under the Policy.

40. At all times material hereto, the Policy had per-claim liability limits of $1,000,000.00 and an

   aggregate limit of $3,000,000.00 for its CGL coverage.

41. The CGL coverage was “occurrence form,” meaning it applied to claims that arose within the

   Coverage Period.

42. At all times material hereto, the Policy had per-claim liability limits of $1,000,000.00 and an

   aggregate limit of $3,000,000.00 for its professional liability coverage.



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43. The professional liability coverage was “claims made form,” meaning it applied where notice

   of an actual or potential claim was received by HCS within the Coverage Period.

44. HCS was entitled to indemnity from Hiscox and/or Lloyd’s under the CGL coverage for legal

   liability arising out of the events described above for injuries Jonathan suffered during the

   Coverage Period.

45. HCS was entitled to indemnity from Hiscox and/or Lloyd’s under the professional liability

   coverage for legal liability arising out of the events described above where notice of

   Jonathan’s actual or potential claim was received by HCS within the Coverage Period.

46. On or about November 13, 2017, Plaintiff’s counsel sent a demand letter to HCS offering to

   resolve Jonathan’s claims against it for $8,000,000.00. (Ex. 1).

47. HCS promptly forwarded the demand letter to Hiscox.

48. On or about December 18, 2017, Hiscox sent a letter to HCS stating that it was denying

   coverage for Jonathan’s claims against HCS. (Ex. 2 at 1).

49. In particular, Hiscox stated that Endorsement E9979.1, “CGL—Abuse or Molestation

   Exclusion,” “applied to preclude coverage for this matter in its entirety” under the CGL part

   of the Policy because it excluded coverage for liability HCS might have for “Mr. Wilkins’

   conduct in abusing Mr. Moore based on its failure to properly screen or investigate Mr.

   Wilkins” and “fail[ure] to supervise Mr. Wilkins or report his conduct to the proper

   authorities.” (Id. at 2-3).

50. Endorsement E9979.1 reads as follows:

   This insurance does not apply to “bodily injury” . . . arising out of:

       (a) the actual or threatened abuse or molestation by anyone of any person while in the
           care, custody or control of any insured, or
       (b) the negligent:
                  (i) employment;


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                 (ii) investigation;
                (iii) supervision;
                (iv) reporting to the proper authorities, or failure so to report; or
                 (v) retention;
                  of a person for whom any insured is or ever was legally responsible and
                  whose conduct would be excluded by (a) above.

   (Ex. 3).

51. Because Jonathan was never “in the care, custody or control of” HCS or any of its

   employees, paragraph (a) of Endorsement E9979.1 does not apply to his claims against HCS.

52. Paragraph (a) of Endorsement E9979.1 does not apply to any HCS employee who did not

   engage in “actual or threatened abuse or molestation” of Jonathan.

53. Because Jonathan was never “in the care, custody or control of” HCS or any of its

   employees, paragraph (a) of Endorsement E9979.1 would not exclude the conduct of anyone

   for whom HCS was legally responsible, and paragraph (b) does not apply to his claims

   against HCS.

54. Because the HCS employees who concealed or failed to disclose their knowledge of Mr.

   Wilkins’s conduct did not engage in “the actual or threatened abuse or molestation . . . of any

   person,” paragraph (b) of Endorsement E9979.1 does not apply to Jonathan’s claims against

   HCS with respect to any of those employees.

55. Because the list of excluded activities in paragraph (b) of Endorsement E9979.1 does not

   include training, it does not apply to Jonathan’s claims for negligent training of Mr. Wilkins

   or for negligent training of other employees.

56. Because the list of excluded activities in paragraph (b) of Endorsement E9979.1 does not

   include job placement, it does not apply to Jonathan’s claims for negligence in placing Mr.

   Wilkins in a particular position on the staff at Gateway.




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57. The Hiscox denial letter further acknowledged the demand identified claims that would come

   within the professional liability coverage, but it asserted that because Plaintiff did not send

   her demand letter until after the end of the Coverage Period, those claims were excluded

   from coverage. (Ex. 2 at 3).

58. Because an in-house investigation of Plaintiff’s allegations of abuse was conducted in August

   2015, HCS, Hiscox, and Lloyd’s had notice of Jonathan’s potential claims within the

   Coverage Period.

59. Because Plaintiff filed a police report alleging abuse and the Hinesville Police Department

   conducted an investigation in August 2015, HCS, Hiscox, and Lloyd’s had notice of

   Jonathan’s potential claims within the Coverage Period.

60. Because an in-house investigation in February 2016 revealed evidence to support Plaintiff’s

   allegations of abuse, HCS, Hiscox, and Lloyd’s had notice of Jonathan’s potential claims

   within the Coverage Period.

61. Plaintiff filed a lawsuit for damages on Jonathan’s behalf on or about February 17, 2018,

   styled Catherine Moore as Next of Kin and Legal Guardian of Jonathan Moore, an

   incapacitated adult, v. Healthcare Staffing, Inc. and Gateway Behavioral Health Services,

   No. STSV2018000030, in the State Court of Liberty County (“the Tort Action”) (Ex. 4).

62. The complaint in the Tort Action alleged claims against HCS not only regarding the

   negligence of Mr. Wilkins but regarding the negligence of other employees, negligent

   training of Wilkins, negligent training of other employees, negligent supervision of Mr.

   Wilkins, negligent supervision of other employees, negligent retention of Wilkins, breach of

   the staffing contract of which Jonathan was a third-party beneficiary, assault and battery, and

   fraud with respect to the other employees’ concealment of Wilkins’s conduct.



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63. The complaint in the Tort Action alleged that Jonathan was a patient and business invitee of

   Gateway, not HCS, and that HCS placed Mr. Wilkins on the staff at Gateway pursuant to its

   staffing contract with Gateway.

64. The complaint in the Tort Action alleged that HCS should not have placed Wilkins in a

   position at Gateway that would involve contact with vulnerable persons such as Jonathan.

65. Some or all of the claims asserted by Plaintiff in the Tort Action were covered by the Policy.

66. On the face of the Complaint in the Tort Action, at least one claim at least arguably came

   within the coverage of the Policy.

67. HCS was entitled to a defense from Hiscox in the Tort Action.

68. HCS was entitled to a defense from Lloyd’s in the Tort Action.

69. Hiscox refused to provide a defense to HCS in the Tort Action.

70. Lloyd’s refused to provide a defense to HCS in the Tort Action.

71. HCS provided notice of Plaintiff’s claims to Hiscox.

72. HCS tendered the defense of the Tort Action to Hiscox.

73. Hiscox did not pay HCS’s defense costs in the Tort Action.

74. Lloyd’s did not pay HCS’s defense costs in the Tort Action.

75. Hiscox did not provide legal representation for HCS in the Tort Action.

76. Lloyd’s did not provide legal representation for HCS in the Tort Action.

77. Hiscox had a duty to defend HCS in the Tort Action.

78. Lloyd’s had a duty to defend HCS in the Tort Action.

79. Hiscox did not provide a defense for HCS in the Tort Action.

80. Lloyd’s did not provide a defense for HCS in the Tort Action.




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81. Hiscox never identified any basis for denying coverage or a defense in the Tort Action other

   than the grounds identified in the December 2017 denial letter.

82. Because Hiscox and Lloyd’s denied coverage and a defense, HCS was forced to litigate the

   Tort Action at its own expense.

83. On or about March 18, 2019, Plaintiff served HCS with an Offer of Settlement for

   $250,000.00 pursuant to O.C.G.A. § 9-11-68. (See Ex. 5 at 2).

84. Hiscox did not tender the $250,000.00 demanded in the Offer of Settlement.

85. Lloyd’s did not tender the $250,000.00 demanded in the offer of settlement.

86. Hiscox had a reasonable opportunity to settle Plaintiffs’ tort claims and to protect HCS from

   a judgment in excess of policy limits.

87. Lloyd’s had a reasonable opportunity to settle Plaintiff’s tort claims and to protect HCS from

   a judgment in excess of policy limits.

88. Hiscox negligently, unreasonably, and in bad faith declined to take advantage of the

   opportunity to protect HCS from a judgment in excess of policy limits.

89. Lloyd’s negligently, unreasonably, and in bad faith declined to take advantage of the

   opportunity to protect HCS from a judgment in excess of policy limits.

90. HCS withdrew its answer to Plaintiff’s complaint on or about December 20, 2021, and went

   into default by operation of O.C.G.A. § 9-11-55.

91. The State Court of Liberty County held a prove-damages hearing on Plaintiff’s tort claims on

   or about December 29, 2021, resulting in a judgment entered against HCS and in favor of

   Plaintiff on December 29, 2021, in the amount of $1,000,000.00. (Ex. 6).

92. The judgment against HCS is final and accruing interest.




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93. Because the final judgment was more than 125% greater than the amount in the Offer of

   Settlement, HCS also is liable for Plaintiff’s attorney’s fees and litigation costs incurred

   between March 18, 2019, and December 29, 2021.

94. The damages award and § 9-11-68 fees and costs combine to an amount in excess of the

   $1,000,000.00 limits of the Policy.

95. On or about January 5, 2022, Plaintiff sent a demand letter to Hiscox, notifying it that HCS

   had assigned Jonathan its rights and claims under the Policy and offering it the opportunity to

   resolve all claims against it and HCS by paying him the amount of the judgment plus the fees

   and costs owed under O.C.G.A. § 9-11-68. (Ex. 5 at 8).

96. Hiscox rejected Plaintiff’s demand.

97. Hiscox has a contractual duty to indemnify HCS for the judgment and to pay other amounts

   due under the Policy.

98. Lloyd’s has a contractual duty to indemnify HCS for the judgment and to pay other amounts

   due under the Policy.

99. The judgment is the proximate result of Hiscox’s and Lloyd’s negligence and bad faith in

   failing to resolve the claims against HCS when they had a reasonable opportunity to do so.

100.     The judgment is the proximate result of Hiscox’s and Lloyd’s breach of the duty to

   defend.

101.     HCS has assigned to Plaintiff all of its assignable rights and claims against Hiscox and

   Lloyd’s. (Ex. 7). Plaintiff sues Hiscox and Lloyd’s as the assignee of HCS’s causes of

   action.

102.     All conditions precedent to the right to bring this action have occurred or have been

   excused.



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                                               COUNT I

  NEGLIGENT AND BAD FAITH FAILURE TO SETTLE WITHIN POLICY LIMITS

103.     The foregoing paragraphs are hereby incorporated by reference as if fully realleged

   herein.

104.     Hiscox and Lloyd’s owed a duty to act with ordinary care and good faith when handling

   Plaintiff’s claims against HCS.

105.     Under all the circumstances of this case, Plaintiff’s claims in the Tort Action could and

   should have been settled by Hiscox and Lloyd’s, had they acted with ordinary care and good

   faith and given equal consideration to the financial interests of their insured, HCS.

106.     Hiscox and Lloyd’s had a reasonable opportunity to settle the claims against HCS within

   the limits of the Policy.

107.     Hiscox and Lloyd’s breached their duties and were negligent by actions including but not

   limited to the following:

   a. Failing and refusing to settle Plaintiff’s claims within the limits of the Policy when they

         had a reasonable opportunity to do so;

   b. Failing to give HCS’s financial interests at least equal consideration with their own

         interests in the handling of Plaintiff’s claims;

   c. Failing to settle Plaintiff’s claims where HCS’s liability was reasonably clear, the

         damages were in excess of the policy limits, and they were on notice that they had an

         opportunity to settle the case;

   d. Negligently and carelessly adjusting Plaintiff’s claims;

   e. Failing to adopt and implement procedures for the prompt investigation and settlement of

         claims for losses such as Jonathan’s; and/or



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   f. Failing to handle the entire claim in accordance with applicable laws, statutes,

         governmental and industry regulations that establish obligations and standards of conduct

         for liability insurance companies handling claims, as well as with Hiscox’s and Lloyd’s

         own policies.

108.     As a proximate result of these breaches by Hiscox and Lloyd’s, Plaintiff’s claims did not

   settle within policy limits and a lawsuit was filed against its insured, HCS.

109.     As a proximate result of these breaches by Hiscox and Lloyd’s, a judgment was entered

   against HCS.

110.     As a proximate result of these breaches by Hiscox and Lloyd’s, HCS owes an amount to

   Plaintiff in excess of the policy limits.

111.     Hiscox and Lloyd’s are liable to HCS for the full amount of the judgment plus § 9-11-68

   fees and costs, interest, and other damages.

112.     Plaintiff is entitled to recover special damages in an amount to be determined by the

   enlightened conscience of the jury, including but not limited to the amount of the judgment, §

   9-11-68 fees and costs, post-judgment interest, and other special and general damages for the

   foreseeable harm resulting from Hiscox’s and Lloyd’s actions.

                                               COUNT II

                                   BREACH OF CONTRACT

113.     The foregoing paragraphs are hereby incorporated by reference as if fully realleged

   herein.

114.     Hiscox and Lloyd’s had a contractual duty under the Policy to defend HCS in the Tort

   Action.




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115.     Hiscox and Lloyd’s received prompt notice of the Tort Action, triggering the duty to

   defend.

116.     HCS fulfilled all conditions precedent for coverage under the Policy.

117.     Hiscox and Lloyd’s denied coverage and a defense to HCS.

118.     Hiscox and Lloyd’s breached the Policy by failing to defend HCS in the Tort Action.

119.     Hiscox’s and Lloyd’s failure to defend HCS is a direct and proximate cause of the

   judgment entered against HCS and other damages alleged herein.

120.     Alternatively, had Hiscox and Lloyd’s provided a defense to HCS, the judgment would

   have been substantially less.

121.     Hiscox and Lloyd’s are liable for their breaches of contract.

122.     Plaintiff is entitled to recover damages in an amount to be determined by the enlightened

   conscience of the jury for Hiscox’s and Lloyd’s breaches of the contractual obligations of the

   Policy.

                                            COUNT III

                                      CIVIL CONSPIRACY

123.     The foregoing paragraphs are hereby incorporated by reference as if fully realleged

   herein.

124.     Defendants combined and acted in concert to commit wrongful acts against Plaintiff.

125.     Defendants, positively or tacitly, arrived at a mutual understanding to accomplish the

   unlawful and wrongful design of denying insurance coverage for their insured, HCS, to the

   detriment of their insured and the Plaintiff, solely to advance the business and financial

   interests of all Defendants.

126.     Specifically, Defendants acted in concert to wrongfully and in bad faith:



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a. Fail and refuse to settle Plaintiff’s claims within the limits of the Policy when they had a

   reasonable opportunity to do so;

b. Fail to give HCS’s financial interests at least equal consideration with their own interests

   in the handling of Plaintiff’s claims;

c. Fail to settle Plaintiff’s claims where HCS’s liability was reasonably clear, the damages

   were in excess of the policy limits, and they were on notice that they had an opportunity

   to settle the case;

d. Negligently and carelessly adjust Plaintiff’s claims;

e. Fail to adopt and implement procedures for the prompt investigation and settlement of

   claims for losses such as those of the Plaintiff;

f. Fail to handle the entire claim in accordance with applicable laws, statutes, governmental

   and industry regulations that establish obligations and standards of conduct for liability

   insurance companies handling claims, as well as with Defendants’ own policies;

g. Fail to consider information provided by Plaintiff and HCS regarding the nature of

   Plaintiff’s tort claims against HCS;

h. Fail to consider the substance and allegations in the complaint in the Tort Action

   regarding the fact that Jonathan was in the care, custody, and control of Gateway, not

   HCS;

i. Fail to consider the substance and allegations in the complaint in the Tort Action

   regarding the fact that Plaintiff asserted claims regarding the conduct of HCS employees

   who had not engaged in actual or threatened abuse or molestation of Jonathan;




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   j. Fail to consider the substance and allegations in the complaint in the Tort Action

         regarding the fact that Plaintiff asserted claims regarding the negligent training of Mr.

         Wilkins and other HCS employees;

   k. Fail to consider the substance and allegations in the complaint in the Tort Action

         regarding the fact that Plaintiff asserted claims regarding the negligent placement of Mr.

         Wilkins and other HCS employees on the staff at Gateway; and

   l. Fail to consider the substance and allegations in the complaint in the Tort Action

         regarding the fact that HCS was put on notice of Plaintiff’s potential claims during the

         Coverage Period.

127.     By reasons of Defendants' concerted action and conspiracy to commit wrongful and

   unlawful acts, or to commit lawful acts by unlawful means or methods, Defendants are

   jointly and severally liable for the acts committed by each Defendant in furtherance of the

   conspiracy.

128.     As a proximate result of these breaches by Defendants, Plaintiff’s claims did not settle

   within policy limits and a lawsuit was pursued against their insured, HCS.

129.     As a proximate result of these breaches by Defendants, a judgment was entered against

   HCS.

130.     As a proximate result of these breaches by Defendants, a judgment was entered against

   HCS in excess of the policy limits.

131.     Defendants are liable to HCS for the full amount of the judgment plus § 9-11-68 fees and

   costs, interest, and other damages.

132.     Plaintiff is entitled to recover special damages in an amount to be determined by the

   enlightened conscience of the jury, including but not limited to the amount of the judgment,



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   § 9-11-68 fees and costs, post-judgment interest, and other special and general damages for

   the foreseeable harm resulting from Defendants' actions.

                                              COUNT IV

                   ATTORNEYS’ FEES AND EXPENSES OF LITIGATION

133.     The foregoing paragraphs are hereby incorporated by reference as if fully realleged

   herein.

134.     Hiscox and Lloyd’s have acted in bad faith, been stubbornly litigious, and have caused

   unnecessary trouble and expense within the meaning of O.C.G.A. § 13-6-11.

135.     Plaintiff is entitled to recover attorneys’ fees and other expenses of litigation.

   WHEREFORE, Plaintiff respectfully prays and demands as follows:

   a. That service and process issue and that Defendants be served with process as required by

         law and that Defendants be required to appear and answer;

   b. That Plaintiff receive a TRIAL BY JURY;

   c. That judgment be entered against Defendants and in favor of Plaintiff;

   d. That Plaintiff be awarded all special, compensatory, contractual, general, and other

         damages allowable by law and shown by the evidence;

   e. That Plaintiff be awarded all attorneys’ fees and expenses attributable to this action;

   f. That costs be taxed against Defendants;

   g. That Plaintiff be awarded pre-judgment interest; and

   h. That Plaintiff receive all such other and further relief as this Court deems just and proper.

         This the 26th day of May, 2022.

                                                        HARRIS LOWRY MANTON LLP

                                                         /s/ Jed D. Manton
                                                        JEFFREY R. HARRIS


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                                          Georgia Bar No. 330315
                                          JED D. MANTON
                                          Georgia Bar No. 868587
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                                                            EXHIBIT A
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                                                                  PLAINTIFF'S
                                                                    EXHIBIT
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                                                                                       CLERK OF STATE COURT
                                                                                     LIBERTY COUNTY, GEORGIA
                                                                                   STSV2018000030
                      IN THE STATE COURT OF LIBERTY COUNTY                                    JO
                                STATE OF GEORGIA                                     FEB 17, 2018 11:33 AM


CATHERINE MOORE As Next of Kin and :
As Legal Guardian of JONATHAN MOORE, :
An incapacitated Adult,              :
                                     :
       Plaintiffs,                   : CIVIL ACTION NO.:
                                     :
v.                                   :
                                     :
HEALTHCARE STAFFING, INC. and        :
GATEWAY BEHAVIORAL HEALTH            :
SERVICES,                            :
                                     :
       Defendants.


                                         COMPLAINT

       COME NOW, plaintiffs and respectfully show this Honorable Court the following in

support of their claims:

                                   PARTIES DEFENDANT

                                                1.

       Defendant Healthcare Staffing, Inc. (hereinafter “Staffing”) has its Principal Place of

Business at 1724 Phoenix Parkway, College Park, GA 30349 and is subject to the jurisdiction

and venue of this Court pursuant to OCGA §14-3-510(b)(4).

                                                2.

       Please serve Defendant Staffing by and through its Registered Agent for Service, Tracy

L. Cameron, at 1724 Phoenix Parkway, Building 600, College Park, GA 30349 through the

Sheriff of Clayton County.

                                                3.

       Defendant Gateway Behavioral Health Services (hereinafter “Gateway”) has its places of

                                                                                             PLAINTIFF'S
                                                                                               EXHIBIT
                                                                                                 4
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operation at 1113 E Oglethorpe Hwy #84, Hinesville, GA 31313 and 760 South Main Street,

Hinesville, GA 31313 and is therefore subject to the jurisdiction and venue of this Court pursuant

to OCGA §37-2-11.1(a) and as a joint tortfeasor.

                                                4.

       Please serve Gateway by and through its Chief Executive Officer, Dr. Mark Johnson, at

600 Coastal Village Drive, Brunswick, GA 31520 through the Sheriff of Glynn County.

                                                5.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent employees who would treat Defendant Gateway’s

patients with “high quality customer service focused on outcomes of improved health.”

                                                5a.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent employees who would treat Defendant Gateway’s

patients with “service with integrity in a culturally competent, ethical and respectful manner.”

                                                5b.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent employees who would treat Defendant Gateway’s

patients with “consistent treatment, providing strengths-based care, focused on an individual’s

personal goals.”

                                                5c.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent employees who would treat Defendant Gateway’s

patients with “a work environment that encourages passion, creativity, and team work in an
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atmosphere of compassion, flexibility and optimism.”

                                               5d.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent employees who would treat Defendant Gateway’s

patients with an environment which fostered “hope to all individuals served.”

                                                5e.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent employees who would treat Defendant Gateway’s

patients “humanely.”

                                                5f.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent and properly screened employees.

                                               5g.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation

perform a criminal background check on all employees to be provided to Defendant Gateway.

                                               5h.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

perform a ten (10) point drug screen on all employees to be provided to Defendant Gateway.

                                                6.

       At all times pertinent to this lawsuit, Defendant Gateway had a contractual obligation to

provide Mr. Jonathan Moore (hereinafter “Jonathan”) with a safe and secure environment in

which to provide Jonathan with “high quality customer service focused on outcomes of improved

health.”
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                                                  6a.

          At all times pertinent to this lawsuit, Defendant Gateway had a contractual obligation to

provide Jonathan with a safe and secure environment in which to provide Jonathan with “service

with integrity in a culturally competent, ethical and respectful manner.”

                                                  6b.

          At all times pertinent to this lawsuit, Defendant Gateway had a contractual obligation to

provide Jonathan with a safe and secure environment in which to provide Jonathan with

“consistent treatment, providing strengths-based care, focused on an individual’s personal

goals.”

                                                  6c.

          At all times pertinent to this lawsuit, Defendant Gateway had a contractual obligation to

provide Jonathan with a safe and secure environment in which to provide Jonathan with “a work

environment that encourages passion, creativity, and team work in an atmosphere of compassion,

flexibility and optimism.”

                                                  6d.

          At all times pertinent to this lawsuit, Defendant Gateway had a contractual obligation to

provide Jonathan with a safe and secure environment in which to provide Jonathan with “hope to

all individuals served.”

                                                  6e.

          At all times pertinent to this lawsuit, Defendant Gateway, as owner of the premises where

Jonathan was abused, had a legal obligation to provide all invitees with a safe and secure

environment in which to participate in Defendant Gateway’s programs and treatments.
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                                               6f.

       At all times pertinent to this lawsuit, Jonathan was an invitee of Defendant Gateway.

                                               6g.

       Defendant Gateway’s Mission statement is:

               We provide hope for recovery to individuals with mental illness,

               addictive diseases, and developmental disabilities.

                                    PARTIES PLAINTIFF

                                                7.

       Ms. Moore is the Legal Guardian of Jonathan Moore. Jonathan is an Incapacitated Adult

suffering from Severe Autistic Disorder and Unspecified Intellectual Disabilities and resides

with Ms. Moore.

              CONTRACTUAL RELATIONSHIP BETWEEN THE PARTIES

                                                8.

       The Defendants entered a contract with one another for the purpose of providing services

to Defendant Gateway’s patients.

                                               8a.

       Jonathan is a patient of Gateway’s and is a third party beneficiary of the contract between

Defendants.

                                               8b.

       Defendants both had employees who provided services to Jonathan.

                                               8c.

       Particularly, Defendant Staffing lent Errol Wilkins to Defendant Gateway to provide

services to Jonathan and other patients of Defendant Gateway.
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                                                 8d.

         Particularly, Defendant Gateway allowed Errol Wilkins to provided services to Jonathan

and other patients.

                                                 8e.

         Jonathan was an invitee of Defendant Gateway.

                                                  9.

         Particularly, Defendants jointly and continuously allowed Errol Wilkins to physically and

mentally abuse Jonathan.

                                                 9a.

         Particularly, Defendants jointly and continuously hid the abuse of Jonathan from Ms.

Moore.

                                                 9b.

         Ms. Moore informed Gateway that she believed that Errol Wilkins was abusing Jonathan.

                                                 9c.

         Gateway, through its staff members, denied that Errol Wilkins was abusing Jonathan.

                                                 9d.

         In August of 2017, Ms. Moore fortuitously learned of the abuse of Jonathan through a

mutual friend who informed her of a lawsuit filed by Cheryl Edenfield concerning the abuse of

her son at the hands of Errol Wilkins.

                         FACTS OF THE SUBJECT OCCURENCES
                       OF PHYSICAL ABUSE OF JONATHAN MOORE

                                                 10.

         Plaintiffs allege all preceding and subsequent paragraphs herein as if pled as this

paragraph.
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                                              11.

       Throughout the year of 2015 when Jonathan would come home after his daily stay at the

Liberty DDTC (Gateway’s facility where the events of this action arose), Ms. Moore would

notice wounds/bruises on Jonathan’s body in various places and that Jonathan was withdrawn.

                                              11a.

       On August 5, 2015, Ms. Moore arrived at the Liberty DDTC to pick up Jonathan.

                                              11b.

       As Ms. Moore arrived, she noticed Jonathan frantically running outside of the building.

                                              11c.

       No staff member/employee of the Defendants could explain to Ms. Moore why or how

Jonathan got out.

                                              11d.

       No staff member/employee of the Defendants informed Ms. Moore that her grandson had

been and was being physically abused daily at the hands of Errol Wilkins.

                                              12.

       The night of August 5, 2015, while bathing Jonathan, Ms. Moore noticed large bruises on

Jonathan’s arm.

                                              12a.

       The next day Ms. Moore showed the bruises to staff members.

                                              12b.

       Again, no staff member/employee of the Defendants informed Ms. Moore that Jonathan

was being physically abused daily at the hands of Errol Wilkins.
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                                               12c.

       However, Ms. Moore informed staff members that she believed that it was Errol Wilkins

because of the jewelry he was wearing that marks on Jonathan’s body.

                                               12d.

       Staff members/employees of the Defendant denied Ms. Moore suspicion and never

informed her that she was correct that Errol Wilkins was abusing Jonathan, as well as other

individuals such as Quincy Edenfield, Lee Green, and Adam Edwards.

                                                13.

       Ms. Moore filed a police report with the Hinesville Police Department concerning the

bruises.

                                               13a.

       Despite federal, state, and corporate laws, regulations, and policies requiring the

reporting of physical abuse, no one at Gateway informed the Hinesville Police Department that

Jonathan was being physically abused daily at the hands of Errol Wilkins.

                                                14.

       This failure to report physical abuse at the hands of staff members, particularly Errol

Wilkins, had become an established and regularly followed protocol for Gateway staff members.

                                                15.

       However, on February 27, 2016, Ms. Rosetta Scott, a Gateway Instructor and Staffing

employee, informed Ms. Deborah Jones, a Gateway employee, that she saw Mr. Errol Wilkins, a

Gateway Instructor and Staffing employee, hitting Jonathan as well as another individual.

                                                16.

       As a result of Ms. Scott’s report of the abusive tactics of Mr. Wilkins, an investigation
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was launched on February 29, 2016 by Mr. Mitch Sweeney, Gateway QM Coordinator.

                                                17.

       Mr. Sweeney devised a chronology of the incident and spoke with several employees of

Gateway.

                                                18.

Mr. Sweeney concluded:

               Based on interviews, the allegations of physical abuse is substantiated against

               Mr. Errol Wilkins. Several staff and individuals stated that they have observed

               Mr. Wilkins hit Jonathan [Moore] with his fist and/or open hand on several

               occasions and that this has been going on for several weeks. It has also been

               observed that Mr. Wilkins has often hit/punched [Jonathan] individual, who

               Wilkins is 1:1 with, in the back of the head when he accidentally soils himself.

               Verbal abuse has also been substantiated by witnesses who have heard Mr.

               Wilkins threaten, intimidate, and humiliate individuals at the training center.

               (Emphasis in original and added.).

                                                19.

       Mr. Sweeney then recommended the following:

       i.      Terminate employment with Mr. Wilkins.

       ii.     Cooperate with the Police Department on Criminal Investigation.

       iii.    Root Cause Analysis to be done with training center staff to determine

underlying reason for not reporting incident timely and take appropriate action with staff

involved.
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                             CRITICAL FACTS OF INVESTIGATION

                                                    20.

         Plaintiffs hereby adopt and allege all preceding and succeeding paragraphs herein as this

paragraph.

                                                    21.

         Although the investigation report is attached, several facts need to be highlighted (which

are verbatim from the report):

         Ms. Rosetta Scott stated in her interview:

         a.       All of us have seen it . . . . . people higher up than me such as Instructor IIs.

         b.       I thought someone else had reported.

         c.       I saw Errol hit [Adam] in the side of the head at the ear with a closed fist.

         d.       That was the last straw.

         e.       We’ve asked Errol to help get [Quincy] and Adam back in the classroom. He

then hits them.

         f.       I’ve seen him hit them both with a closed fist on multiple times.

         g.       At least 2-3 times a week, sometimes 2x per day.

         h.       Errol is a former gang member from Chicago and we’re a little afraid of him

retaliating. That is the main reason I did not report it before.

         i.       This has been going on for about 3 months. I believe it started in December.

         j.       I couldn’t take it anymore and it caused me anxiety.

         k.       Everyone that works in the back has seen it. If they say they didn’t, then they are

lying.

         l.       They don’t write him up.
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       m.      If I were to do what he does, I would get written up.

                                                   22.

       An unidentified individual stated in his/her interview:

       a.      Both [Quincy] and Adam, he be hitting them beside the head. Sometimes with his

fist or a broke off handle from a rocking chair.

       b.      He punches [Quincy] and Adam.

       c.      I’ve told Robert Brown, but he doesn’t want me to get involved.

       d.      Errol will say keep your ass in the chair . . . . if you move, I’ll knock you out.

       e.      Errol don’t care about anybody but himself.

                                                   23.

       Another unidentified individual states the following during his/her interview:

       a.      Sometimes he hits [Quincy] and Adam.

       b.      He hits them in the arms or side.

       c.      It has been happening a while . . . happened last week.

                                                   24.

       Rose Palmer, Instructor I, stated:

       a.      I have seen Errol hit them, and hits them with an open hand.

       b.      I know it’s not acceptable. (Emphasis added.).

       c.      I’ve told him don’t do that . . . as long as they’re inside . . . if they were outside

then that is when you should be concerned.

       d.      Never should you push, shove, or hit anyone inside or outside.

       e.      I saw him do it only once . . . back in January.
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                                                25.

       Faye Hines, Instructor I, stated in her interview:

       a.     Errol hitting happens throughout the week . . . 2-3 x a week, can be multiple

times a day. (Emphasis added.).

       b.     Adam or [Quincy] ‘draw up’ their arms to protect themselves or run if Errol

comes towards them. (Emphasis added.).

       c.     I’ve seen Errol hit Adam & [Quincy] with a closed fist in their sides.

       d.     He has hit [Adam] in the head with his fist.

       e.     It happens often. (Emphasis added.).

       f.     I didn’t report it because I thought someone else had.

       g.     Everyone has seen it and I heard Errol had been spoken to about this.

              (Emphasis added.).

       h.     I don’t remember who told me that he had been spoken to as it was a long time

ago. (Emphasis added.).

       i.     Its just been a matter of time that Errol got in trouble for this. (Emphasis

added.).

       j.     I used to tell Errol not to do this and don’t bother them. (Emphasis added.).

       k.     Everyone saw it happen and may not have wanted to get involved.

       l.     The first time I saw it was a couple of months ago.

       m.     They may not have wanted to get involved and could have been afraid.

       n.     Afraid of what Errol would do.

                                                26.

       Cheryl Bailey, Instructor I, stated in her interview:
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        a.         Errol has been very physical mainly with [Quincy], hitting him with a closed fist

in the ear area.

        b.         I’ve seen him hit with a closed fist even with jewelry on.

        c.         A lot of other staff see it happen and don’t say anything. (Emphasis added.).

        d.         Also, he has hit Adam with a closed fist.

        e.         It happens mainly in the warehouse, but sometimes in the day room.

        f.         It’s been going on for a month or two. (Emphasis added.).

        g.         He has been warned. (Emphasis added.).

        h.         I and other staff have warned him that he was going to get caught. (Emphasis

added.).

        i.         He picks on them and calls them names. (Emphasis added.).

        j.         It happens several times a week and sometimes multiple times a day. (Emphasis

added.).

        k.         He’s from Chicago and says he was in a gang.

                                                    27.

        Errol Wilkins, Instructor I, stated the following:

        a.         We aren’t allowed to hit them.

        b.         I put my hand on their shoulder & wrist to help them sit down. (Emphasis

added.).

        c.         I may not want to help the ladies in the future if this happens. (Emphasis

added.).

        d.         I’ve never pushed, shoved, or hit them.
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                                COUNT ONE
                FAILURE TO TRAIN AND SUPERVISE AN EMPLOYEE

                                               28.

       Plaintiffs hereby adopt and allege all preceding and succeeding paragraphs herein as this

paragraph.

                                               29.

       Defendant failed to train and supervise Errol Wilkins, and others, in the proper manner

for assisting the clientele of Gateway, particularly Adam.

                                               30.

       Defendant failed to train and supervise Errol Wilkins, and others, in reporting physical

abuse of Gateway’s clientele by Defendant’s employees, particularly the abuse of Jonathan at the

hands of Errol Wilkins.

                                               31.

       Defendant failed to train and supervise Errol Wilkins, and others, in properly maintaining

a safe and secure environment for Gateway’s clientele, particularly Jonathan.

                                               32.

       Defendant failed to train and supervise Errol Wilkins, and others, in providing Humane

Treatment of Gateway’s clientele, particularly Jonathan.

                                               33.

       As a direct result of Defendant’s failure to properly train and supervise Errol Wilkins,

and other employees, Jonathan sustained injuries from which he did then suffer, now suffers, and

will continue to suffer great pain of body and mind. Additionally, Jonathan has sustained special

damages in the nature of medical bills in an amount no less than $1,000.
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                             COUNT TWO
      DEFENDANTS’ JOINT NEGLIGENT RETENTION OF AN EMPLOYEE and
                   AGENT/SERVANT – ERROL WILKINS

                                                34.

       Plaintiffs hereby adopt and allege all preceding and succeeding paragraphs herein as this

paragraph.

                                                35.

       Defendants negligently retained Errol Wilkins as an employee despite having knowledge

of his failure to treat Jonathan and other clients of Gateway humanely.

                                                36.

       Defendants negligently retained Errol Wilkins as an employee despite having knowledge

of his intentional physical and mental abuse of Jonathan and other clients of Gateway.

                                                37.

       Defendants negligently retained Errol Wilkins as an employee despite having knowledge

of his intentional failure to provide a safe and secure environment for Jonathan and other clients

of Gateway.

                                                38.

       Defendants negligently retained Errol Wilkins as an employee and agent despite having

knowledge of his blatant breach of their contract, of which Jonathan is a third party beneficiary,

and their individual policies.

                                                39.

       Defendants negligently retained Errol Wilkins as an employee and agent despite having

knowledge of his blatant breach of their contract and each’s own policies by treating Jonathan

and other clients inhumanely.
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                                               40.

       Defendants negligently retained Errol Wilkins as an employee and agent despite having

knowledge of his blatant breach of their contract and each’s own policies by physically mentally

abusing Jonathan and other clients.

                                              40a.

       Defendants negligently retained Errol Wilkins as an employee and agent and allowed him

to have contact with defenseless people such as Jonathan despite having knowledge of Errol

Wilkins’ criminal history which involved the following:

       i.      Arrested for Robbery

       ii.     2nd Arrest for Robbery

       iii.    Arrested for Armed Robbery

       iv.     Arrested for Battery

                                               41.

       As a result of Defendants’ joint negligent retention of Errol Wilkins as an employee and

agent who breached their contract and each’s own policies, Jonathan sustained injuries from

which he did then suffer, now suffers, and will continue to suffer great pain of body and mind.

Additionally, Jonathan has sustained special damages in the nature of medical bills in an amount

no less than $1,000.

                                 COUNT THREE
                        NEGLIGENT BREACH OF A CONTRACT

                                               42.

       Plaintiffs hereby adopt and allege all preceding and succeeding paragraphs herein as this

paragraph.
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                                                43.

       Defendants had a contract with one another, of which Jonathan is a third party

beneficiary, to provide Jonathan with:

a.     A safe and secure environment;

b.     Humane treatment;

c.     Self worth and dignity; and

d.     High quality customer service focused on outcomes of improved health.

                                                44.

       Defendants jointly breached their contract and each’s own policies in the following

manners:

a.     In failing to maintain a safe and secure environment by allowing Jonathan to be subject to

the inhumane treatment of Errol Wilkins and other employees and staff;

b.     In failing to treat Jonathan inhumanely by allowing him to be subject to the treatment of

Errol Wilkins and other employees and staff;

c.     In failing to assist Jonathan keep his self worth and dignity by allowing Jonathan to be

subject to the inhumane treatment of Errol Wilkins and other employees and staff; and

d.     In failing to maintain high quality customer service focused on outcomes of improved

health for Jonathan by allowing Jonathan to be subject to the inhumane treatment of Errol

Wilkins and other employees and staff.

                                                45.

       As a result of Defendants’ jointly and negligently breaching their contract, of which

Jonathan is a third party beneficiary, Jonathan sustained injuries from which he did then suffer,

now suffers, and will continue to suffer great pain of body and mind. Additionally, Jonathan has
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sustained special damages in the nature of medical bills in an amount no less than $1,000.

                                COUNT FOUR
                 ASSAULT AND BATTERY by DEFENDANT STAFFING

                                                  46.

       Plaintiffs hereby adopt and allege all preceding paragraphs herein as this paragraph.

                                                  47.

       Defendant Staff’s employee and agent, Errol Wilkins, continuously committed assault

and battery upon the person of Jonathan.

                                                  48.

       Defendant Staff had knowledge of Errol Wilkins’ continuous assault and battery upon

Jonathan.

                                                  49.

       Defendant Staff allowed Errol Wilkins’ continuous assault and battery to occur with

impunity.

                                                  50.

       As a result of Errol Wilkins’ continuous assault and battery upon Jonathan, Jonathan

sustained injuries from which he did then suffer, now suffers, and will continue to suffer great

pain of body and mind. Additionally, Jonathan has sustained special damages in the nature of

medical bills in an amount no less than $1,000.

                                           COUNT FIVE
                                             FRAUD

                                                  51.

       Plaintiffs hereby adopt and allege all preceding paragraphs herein as this paragraph.
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                                               52.

       At all times pertinent to this action, Defendants had actual knowledge of Errol Wilkins’

physical and mental abuse of Jonathan.

                                               53.

       At all times pertinent to this action, Defendants took no action to protect Jonathan from

Errol Wilkins.

                                               54.

       At all times pertinent to this action, Defendants never informed Ms. Moore that Errol

Wilkins was physically and mentally abusing Jonathan.

                                               55.

       At all times pertinent to this action, Defendants never informed Law Enforcement that

Errol Wilkins was physically and mentally abusing Jonathan.

                                               56.

       When questioned by the Hinesville Police Department concerning Ms. Moore’s

allegation of abuse of Jonathan at the hands of Errol Wilkins, Defendants’ staff

members/employees fraudulently informed the Hinesville Police Department that they were not

aware of any abuse of Jonathan at the hands of Errol Wilkins.

                                               57.

       When questioned by Ms. Moore concerning her allegation of abuse of Jonathan at the

hands of Errol Wilkins, Defendants’ staff members/employees fraudulently informed Ms. Moore

that they were not aware of any abuse of Jonathan at the hands of Errol Wilkins.

                                               58.

       Defendants, by and through their staff members/employees, made false representations to
    Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 51 of 90




the Hinesville Police Department and Ms. Moore.

                                               59.

       Defendants, by and through their staff members/employees, made false representations to

the Hinesville Police Department and Ms. Moore intentionally with knowledge the

representations were false.

                                               60.

       Defendants, by and through their staff members/employees, made false representations to

the Hinesville Police Department and Ms. Moore with the intent and purpose of deceiving the

Hinesville Police Department and Ms. Moore.

                                               61.

       Defendants, by and through their staff members/employees, made false representations to

the Hinesville Police Department and Ms. Moore knowing that they would each rely upon the

false representations.

                                               62.

       As a result of Defendants making these false representations, Errol Wilkins continued his

physical and mental abuse of Jonathan and other patients of Defendants who all sustained

injuries, physically and mentally thereby.

                                               63.

       As a result of Defendants’ joint fraudulent actions and Errol Wilkins’ continuous assault

and battery upon Jonathan, Jonathan sustained injuries from which he did then suffer, now

suffers, and will continue to suffer great pain of body and mind. Additionally, Jonathan has

sustained special damages in the nature of medical bills in an amount no less than $1,000.
    Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 52 of 90




       WHEREFORE, plaintiff prays for the following:

       a.        That summons be issued requiring Defendants to be served as provided by law

                 and requiring Defendants to answer the complaint;

       b.        That Plaintiffs have a trial by a fair and impartial jury of twelve members;

       c.        That Plaintiffs obtain an award of damages from Defendant jointly and severally

                 in an amount to properly compensate Plaintiffs for their general damages (past,

                 present, and future) and special damages;

       d.        That Plaintiffs obtain a punitive award against the Defendant jointly and severally

                 to deter Defendants from repeating said actions in the future;

       e.        That the costs of bringing this action, attorney’s fees, and litigation costs be taxed

                 against the Defendants jointly and severally;

       f.        And that Plaintiffs have such other and further relief as this Court shall deem just

and equitable.

                                                        THE WHITE LAW GROUP
                                                        /s/ Derek J. White
                                                        DEREK J. WHITE
                                                        Ga. Bar No. 753291
                                                        Counsel for the plaintiff

P.O. Box 787
Pooler, GA 31322
(912)330-9733
(912)330-9755(f)
Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 53 of 90




                                                                  PLAINTIFF'S
                                                                    EXHIBIT
                                                                       5
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ase 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 62 of 9




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Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 65 of 90




                           EXHIBIT 7 WITHHELD


        Subject to Motion for Temporary Limitation of Access to Exhibit




                                                                          PLAINTIFF'S
                                                                            EXHIBIT
                                                                              7
M-CLR Document 1-1 Filed
Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 67 of 90

                  STATE COURT OF LIBERTY COUNTY                                            CLERK OF STATE COURT
                                                                                         LIBERTY COUNTY, GEORGIA
                         STATE OF GEORGIA
                                                                                       STSV2022000130
                                                                                                   JO
                                                                                          MAY 26, 2022 03:36 PM




                CIVIL ACTION NUMBER STSV2022000130
   MOORE, CATHERINE

   PLAINTIFF
                                      VS.
   HISCOX, INC.
   HISCOX INSURANCE COMPANY INC.
   LLOYD'S AMERICA, INC., DBA Certain
   Underwriters at Lloyd's, London
   CERTAIN UNDERWRITERS AT LLOYD'S,
   LONDON

   DEFENDANTS

                                            SUMMONS
   TO: HISCOX, INC.      Via its registered agent for service of process, Corporation Service Company, 2 Sun Court,
                         Suite 400, Peachtree Corners, Gwinnett County, Georgia 30092
   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiff's attorney, whose name and address is:

                             Jed Manton
                             HARRIS LOWRY MANTON LLP
                             1418 Dresden Drive NE
                             Unit 250
                             Brookhaven, Georgia 30319

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
   default will be taken against you for the relief demanded in the complaint.

   This 26th day of May, 2022.
                                                   Clerk of State Court




                                                                                        Page 1 of 1
Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 68 of 90

                  STATE COURT OF LIBERTY COUNTY                                              CLERK OF STATE COURT
                                                                                           LIBERTY COUNTY, GEORGIA
                         STATE OF GEORGIA
                                                                                        STSV2022000130
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                CIVIL ACTION NUMBER STSV2022000130
   MOORE, CATHERINE

   PLAINTIFF
                                      VS.
   HISCOX, INC.
   HISCOX INSURANCE COMPANY INC.
   LLOYD'S AMERICA, INC., DBA Certain
   Underwriters at Lloyd's, London
   CERTAIN UNDERWRITERS AT LLOYD'S,
   LONDON

   DEFENDANTS
                                           SUMMONS
                                                     via its registered agent for service of process, Corporation Service
   TO: HISCOX INSURANCE COMPANY INC.                 Company, 2 Sun Court, Suite 400, Peachtree Corners, Gwinnett
                                                     County, Georgia 30092

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiff's attorney, whose name and address is:
                               Jed Manton
                               HARRIS LOWRY MANTON LLP
                               1418 Dresden Drive NE
                               Unit 250
                               Brookhaven, Georgia 30319

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
   default will be taken against you for the relief demanded in the complaint.

   This 26th day of May, 2022.
                                                   Clerk of State Court




                                                                                         Page 1 of 1
Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 69 of 90

                  STATE COURT OF LIBERTY COUNTY                                            CLERK OF STATE COURT
                                                                                         LIBERTY COUNTY, GEORGIA
                         STATE OF GEORGIA
                                                                                       STSV2022000130
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                CIVIL ACTION NUMBER STSV2022000130
   MOORE, CATHERINE

   PLAINTIFF
                                      VS.
   HISCOX, INC.
   HISCOX INSURANCE COMPANY INC.
   LLOYD'S AMERICA, INC., DBA Certain
   Underwriters at Lloyd's, London
   CERTAIN UNDERWRITERS AT LLOYD'S,
   LONDON

   DEFENDANTS
                                           SUMMONS
                             via its registered agent for service of process, CT Corporation System, 289 S.
   TO: LLOYD'S AMERICA, INC. Culver St., Lawrenceville, Gwinnett County, Georgia 30046

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiff's attorney, whose name and address is:

                             Jed Manton
                             HARRIS LOWRY MANTON LLP
                             1418 Dresden Drive NE
                             Unit 250
                             Brookhaven, Georgia 30319

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
   default will be taken against you for the relief demanded in the complaint.

   This 26th day of May, 2022.
                                                   Clerk of State Court




                                                                                        Page 1 of 1
Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 70 of 90

                  STATE COURT OF LIBERTY COUNTY                                            CLERK OF STATE COURT
                                                                                         LIBERTY COUNTY, GEORGIA
                         STATE OF GEORGIA
                                                                                       STSV2022000130
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                CIVIL ACTION NUMBER STSV2022000130
   MOORE, CATHERINE

   PLAINTIFF
                                      VS.
   HISCOX, INC.
   HISCOX INSURANCE COMPANY INC.
   LLOYD'S AMERICA, INC., DBA Certain
   Underwriters at Lloyd's, London
   CERTAIN UNDERWRITERS AT LLOYD'S,
   LONDON

   DEFENDANTS


                               SUMMONS
   TO: CERTAIN UNDERWRITERS AT LLOYD'S, LONDON

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiff's attorney, whose name and address is:

                             Jed Manton
                             HARRIS LOWRY MANTON LLP
                             1418 Dresden Drive NE
                             Unit 250
                             Brookhaven, Georgia 30319

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
   default will be taken against you for the relief demanded in the complaint.

   This 26th day of May, 2022.
                                                   Clerk of State Court




                                                                                        Page 1 of 1
          Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 71 of 90

                                                                              CLERK OF STATE COURT
                                                                            LIBERTY COUNTY, GEORGIA
                                           Liberty                         STSV2022000130
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MOORE, CATHERINE                           HISCOX, INC.


                                           HISCOX INSURANCE COMPANY INC.


                                           LLOYD'S AMERICA, INC.

                                           CERTAIN UNDERWRITERS AT LLOYD'S, LONDON


                   Manton, Jed                            868587




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      Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 72 of 90

                                                                                         CLERK OF STATE COURT
                                                                                       LIBERTY COUNTY, GEORGIA
                                                                                     STSV2022000130
                       IN THE STATE COURT OF LIBERTY COUNTY                                     JO
                                 STATE OF GEORGIA                                      MAY 26, 2022 04:24 PM


 CATHERINE MOORE, as legal guardian and
 next friend of JONATHAN MOORE,

         Plaintiff,                                   Civil Action File No.
                                                      STSV2022000130
 v.

 HISCOX, INC., HISCOX INSURANCE
 COMPANY INC., LLOYD’S AMERICA, INC.,
 d/b/a Certain Underwriters at Lloyd’s, London,
 and CERTAIN UNDERWRITERS AT
 LLOYD’S, LONDON,

         Defendants.

                             MOTION FOR APPOINTMENT OF
                           DIAL SERVICES TO SERVE PROCESS

        COMES NOW Plaintiff and files this Motion pursuant to O.C.G.A § 9-11-4 and moves

the Court for an Order authorizing STEVE BASHAM of Dial Services, Inc., as a citizen of the

United States, to serve a copy of the Complaint and Summonses in this case on Defendants

HISCOX, INC., HISCOX INSURANCE COMPANY INC., and LLOYD’S AMERICA, INC.,

d/b/a Certain Underwriters at Lloyd’s, London, on the grounds that STEVE BASHAM, of Dial

Services, Inc., is not registered as a process server in Liberty County State Court, as is more fully

shown in the Affidavit attached hereto.

        This the 26th day of May, 2022.

                                                      HARRIS LOWRY MANTON LLP

                                                       /s/ Jed D. Manton
                                                      JEFFREY R. HARRIS
                                                      Georgia Bar No. 330315
                                                      JED D. MANTON
                                                      Georgia Bar No. 868587
                                                      YVONNE S. GODFREY
                                                      Georgia Bar No. 318567
    Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 73 of 90




                                        MADELINE E. McNEELEY
                                        Georgia Bar No. 460652
1418 Dresden Dr. NE, Unit 250
Brookhaven, GA 30319
(404) 961-7650 (t)
(404) 961-7651 (f)
jeff@hlmlawfirm.com
jed@hlmlawfirm.com
yvonne@hlmlawfirm.com
molly@hlmlawfirm.com
                                        Attorneys for Plaintiffs
Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 74 of 90
Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 75 of 90
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                                                               CLERK OF STATE COURT
                                                             LIBERTY COUNTY, GEORGIA
                                                           STSV2022000130
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Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 77 of 90

                                                            CLERK OF STATE COURT
                                                          LIBERTY COUNTY, GEORGIA
                                                         STSV2022000130
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Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 78 of 90

                                                            CLERK OF STATE COURT
                                                          LIBERTY COUNTY, GEORGIA
                                                         STSV2022000130
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      Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 79 of 90

                                                                                            CLERK OF STATE COURT
                                                                                          LIBERTY COUNTY, GEORGIA
                                                                                        STSV2022000130
                        IN THE STATE COURT OF LIBERTY COUNTY                                       JO
                                  STATE OF GEORGIA                                        MAY 31, 2022 02:11 PM


 CATHERINE MOORE, as legal guardian and next
 friend of JONATHAN MOORE,

         Plaintiff,                                        Civil Action File No. STSV2022000130

 v.

 HISCOX, INC., HISCOX INSURANCE
 COMPANY INC., LLOYD’S AMERICA, INC.,
 d/b/a Certain Underwriters at Lloyd’s, London, and
 CERTAIN UNDERWRITERS AT LLOYD’S,
 LONDON,

         Defendants.

         MOTION FOR TEMPORARY LIMITATION OF ACCESS TO EXHIBIT

        Plaintiff moves this Court to temporarily seal for 30 days Exhibit 7 to her Complaint filed

May 26, 2022.

        Exhibit 7 is a contract between HealthCare Staffing, Inc. (“HCS”) and Plaintiff that assigns

to Plaintiff the right to bring certain claims against Defendants.           The contract contains a

confidentiality provision that restricts disclosure of the terms of the contract. Plaintiff filed suit on

May 26, 2022, bringing certain claims against Defendants pursuant to the assignment. However,

Plaintiff inadvertently filed the contract into the public record and not under seal when she attached

it as an exhibit to her Complaint.

        Plaintiff respectfully requests that this Court enter an order pursuant to Uniform Superior

Court Rule 21.3 that temporarily limits access to the contract by sealing the exhibit and removing

it from the public docket for a period of 30 days. During that time, Plaintiff’s counsel will work

with HCS’s counsel to agree upon redactions or other protections for the document. An affidavit

supporting this request is attached. Further attached for the Court’s convenience are a Proposed
    Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 80 of 90




Order and an “Exhibit 7 Placeholder” that may be inserted into the public record in place of the

temporarily sealed exhibit.

       Respectfully submitted this 31st day of May, 2022.

                                            HARRIS LOWRY MANTON LLP

                                            /s/ Jed D. Manton
                                            JEFFREY R. HARRIS
                                            Georgia Bar No. 330315
                                            JED D. MANTON
                                            Georgia Bar No. 868587
                                            YVONNE S. GODFREY
                                            Georgia Bar No. 318567
                                            MADELINE E. McNEELEY
                                            Georgia Bar No. 460652
1418 Dresden Dr. NE, Unit 250
Brookhaven, GA 30319
Telephone: (404) 961-7650
Facsimile: (404) 961-7651
                                            Attorneys for Plaintiffs




                                               2
Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 81 of 90
Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 82 of 90




                           EXHIBIT 7 WITHHELD


        Subject to Motion for Temporary Limitation of Access to Exhibit




                                                                          PLAINTIFF'S
                                                                            EXHIBIT
                                                                              7
      Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 83 of 90




                       IN THE STATE COURT OF LIBERTY COUNTY
                                 STATE OF GEORGIA

 CATHERINE MOORE, as legal guardian and next
 friend of JONATHAN MOORE,

         Plaintiff,                                     Civil Action File No. STSV2022000130

 v.

 HISCOX, INC., HISCOX INSURANCE
 COMPANY INC., LLOYD’S AMERICA, INC.,
 d/b/a Certain Underwriters at Lloyd’s, London, and
 CERTAIN UNDERWRITERS AT LLOYD’S,
 LONDON,

         Defendants.

                                    [PROPOSED] ORDER

        This matter is before the Court on Plaintiffs’ Motion for Temporary Limitation of Access

to Exhibit. Upon review of the Motion and for cause shown,

        IT IS HEREBY ORDERED that the Motion is GRANTED. The Clerk of Court is directed

to SEAL Exhibit 7 to Plaintiff’s Complaint, which was filed on May 26, 2022, and not to allow

public access to same by any means, including by review of the paper file, by electronic access

through PeachCourt, or by any other means. The Clerk shall REMOVE said Exhibit from the

public docket and REPLACE it with the “Exhibit 7 Placeholder” attached to Plaintiff’s Motion.

This Order shall remain in place for a period of 30 days.

        SO ORDERED this ___ day of ____________, 2022.




                                                     Hon. Jeff Osteen
                                                     State Court of Liberty County
Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 84 of 90

                                                               CLERK OF STATE COURT
                                                             LIBERTY COUNTY, GEORGIA
                                                           STSV2022000130
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      Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 85 of 90

                                                                            CLERK OF STATE COURT
                                                                          LIBERTY COUNTY, GEORGIA
                                                                         STSV2022000130
                      IN THE COURT OF LIBERTY COUNTY                               JO
                                                                          JUN 13, 2022 03:35 PM
                              STATE OF GEORGIA

 CATHERINE MOORE, as legal guardian
 and next friend of JONATHAN MOORE,

         Plaintiff,

 v.
                                                Civil Action File No.:
 HISCOX, INC., HISCOX INSURANCE                 STSV2022000130
 COMPANY INC., LLOYD’S AMERICA,
 INC. d/b/a Certain Underwriters at Lloyd’s,
 London, and CERTAIN UNDERWRITERS
 AT LLOYD’S LONDON,

         Defendants.

                       ACKNOWLEDGMENT OF SERVICE

        Defendant Certain Underwriters at Lloyd’s, London, by and through their

undersigned counsel, hereby acknowledge service of Summons and Complaint in

this matter, waiving all other formal requirements for service. Said Defendants’ time

to file responsive pleadings shall be July 7, 2022. All defenses, except service of

process, are preserved.

        This 13th day of June, 2022.

                                       FREEMAN MATHIS & GARY, LLP

                                       /s/ Philip W. Savrin
                                       Philip W. Savrin
                                       Georgia Bar No. 627836
                                       psavrin@fmglaw.com
   Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 86 of 90




                                   Lee D. Whatling
                                   Georgia Bar No. 689717
                                   lwhatling@fmglaw.com
                                   Attorneys for Defendant
                                   Certain Underwriters at Lloyd’s, London
100 Galleria Parkway, Suite 1600
Atlanta, Georgia 30339-5948
678-996-9090 (direct)
770-937-9960 (fax)




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   Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 87 of 90




                             CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted the foregoing

ACKNOWLEDGEMENT OF SERVICE to the Clerk of Court using the

PeachCourt system which will automatically send electronic mail notification of

such filing to the following counsel of record:

                                 Jed D. Manton
                               Yvonne S. Godfrey
                             Madeline E. McNeeley
                           Harris Lowry Manton LLP
                        1418 Dresden Drive, NE, Unit 250
                             Brookhaven, GA 30319

                                  Derek J. White
                               The White Law Group
                                   P.O. Box 787
                                 Pooler, GA 31322

      This 13th day of June, 2022.


                                              /s/ Philip W. Savrin
                                              Philip W. Savrin
                                              Georgia Bar No. 627836

                                              Attorney for Defendant
                                              Certain Underwriters at Lloyd’s,
                                              London
FREEMAN MATHIS & GARY, LLP
100 Galleria Parkway, Suite 1600
Atlanta, Georgia 30339-5948
678-996-9090 (direct)
770-937-9960 (fax)




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      Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 88 of 90

                                                                            CLERK OF STATE COURT
                                                                          LIBERTY COUNTY, GEORGIA
                                                                         STSV2022000130
                      IN THE COURT OF LIBERTY COUNTY                               JO
                                                                          JUN 13, 2022 03:40 PM
                              STATE OF GEORGIA

 CATHERINE MOORE, as legal guardian
 and next friend of JONATHAN MOORE,

         Plaintiff,

 v.
                                                Civil Action File No.:
 HISCOX, INC., HISCOX INSURANCE                 STSV2022000130
 COMPANY INC., LLOYD’S AMERICA,
 INC. d/b/a Certain Underwriters at Lloyd’s,
 London, and CERTAIN UNDERWRITERS
 AT LLOYD’S LONDON,

         Defendants.

                       ACKNOWLEDGMENT OF SERVICE

        Defendant Certain Underwriters at Lloyd’s, London, by and through their

undersigned counsel, hereby acknowledge service of Summons and Complaint in

this matter, waiving all other formal requirements for service. Said Defendants’ time

to file responsive pleadings shall be July 7, 2022. All defenses, except service of

process, are preserved.

        This 13th day of June, 2022.

                                       FREEMAN MATHIS & GARY, LLP

                                       /s/ Philip W. Savrin
                                       Philip W. Savrin
                                       Georgia Bar No. 627836
                                       psavrin@fmglaw.com
   Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 89 of 90




                                   Lee D. Whatling
                                   Georgia Bar No. 689717
                                   lwhatling@fmglaw.com
                                   Attorneys for Defendant
                                   Certain Underwriters at Lloyd’s, London
100 Galleria Parkway, Suite 1600
Atlanta, Georgia 30339-5948
678-996-9090 (direct)
770-937-9960 (fax)




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   Case 4:22-cv-00147-WTM-CLR Document 1-1 Filed 06/15/22 Page 90 of 90




                             CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted the foregoing

ACKNOWLEDGEMENT OF SERVICE to the Clerk of Court using the

PeachCourt system which will automatically send electronic mail notification of

such filing to the following counsel of record:

                                 Jed D. Manton
                               Yvonne S. Godfrey
                             Madeline E. McNeeley
                           Harris Lowry Manton LLP
                        1418 Dresden Drive, NE, Unit 250
                             Brookhaven, GA 30319

                                  Derek J. White
                               The White Law Group
                                   P.O. Box 787
                                 Pooler, GA 31322

      This 13th day of June, 2022.


                                              /s/ Philip W. Savrin
                                              Philip W. Savrin
                                              Georgia Bar No. 627836

                                              Attorney for Defendant
                                              Certain Underwriters at Lloyd’s,
                                              London
FREEMAN MATHIS & GARY, LLP
100 Galleria Parkway, Suite 1600
Atlanta, Georgia 30339-5948
678-996-9090 (direct)
770-937-9960 (fax)




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